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                                        Meeting Minutes
             Libertarian Party of Michigan Libertarian Executive Committee Meeting
                                              Zoom
                                        26 February 2023
 REMIND CHAIR TO RECORD

    •   Call to order @ 19:40
    •   Roll Call:
            o Andrew Chadderdon, Chair
            o Vacant, 1st Vice Chair
            o Vacant, 2nd Vice Chair
            o Daniel Ziemba, Secretary
            o Vacant, Treasurer
            o Ryan Roberts, District 1
            o Vacant, District 2
            o Jordan Martin, District 3
            o Rick Thelen, District 4
            o Dave Canny, District 5 (not participating as a board member)
            o Larry Henneman, District 6
            o Brian Ellison, District 7 (no response, but noticed in audience)
            o Trevor Step, District 8
            o Mike Saliba, District 9 Mike S states he is “chair of the legitimate board” and does
                not recognize this as the LEC, and will joing this
            o Joe Brungardt, District 10 (resignation pending)
            o Bruce Jaquays, District 11
            o Daniel Muehl-Miller, District 12
            o Dave Franklin, District 13
            o Jeff Pittel, District 14
            o Connor Nepomuceno, Comm. Director (absent)
            o Jeff Pittel, Membership Committee Chair
            o Scotty Boman, Newsletter Committee Chair
                    § Scotty B asserts he is District 14 Representative; this is contradicted by
                       Andrew C, clarifying the Judicial Committee
            o Stephanie Dunn, Legislative Committee Chair
            o Mark King, IT Director (absent)
            o Greg Stempfle (Historical Committee Chair)
            o Larry Johnson (Membership Committee)
            o Leah Dailey (Membership Committee)
            o Tim Yow (guest)
            o Ben Boren (guest)
            o Bob Roddis (guest)
            o Justin Miramonti (guest)
            o Jon Elgas (guest)
            o Larry Ludlow (guest)
            o Dominic Thelen (guest)




                                          EXHIBIT 68
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            o Patrick Henry (guest)
            o Ben DeJong (guest)
            o Jason Rees (guest)
            o Kevin Ellis (guest)
            o Forrest Dunn (guest)
            o Jim Schell (guest)
            o Greg Black (guest)
            o Andy ??? (guest)
            o Tori Hinrichs( guest) (‘hein-ricks’)
            o William “Andy” Conger (guest)
            o Andrew Duke (guest)
            o Andy Evans (guest)
            o Jonathan (JJ) Jacobs (guest)
            o Dana Carver (guest)
    •   Bruce J moves to ratify this as a regular meeting since it was called by the Chair rather
        than during the previous meeting.
            o 2nded
                   § Andrew Chadderdon, Chair ABS
                   § Rick Thelen, District 4 YES
                   § Dave Canny, District 5 YES
                   § Larry Henneman, District 6 YES
                   § Brian Ellison, District 7 ABS
                   § Trevor Step, District 8 YES
                   § Mike Saliba, District 9 YES
                   § Joe Brungardt, District 10 YES
                   § Bruce Jaquays, District 11 YES
                   § Daniel Muehl-Miller, District 12 YES
                   § Dave Franklin, District 13 YES
                   § Jeff Pittel, District 14 ABS
                   § Vacant, 1st Vice Chair XXX
                   § Vacant, 2nd Vice Chair XXX
                   § Daniel Ziemba, Secretary YES
                   § Vacant, Treasurer XXX
                   § Ryan Roberts, District 1 YES
                   § Vacant, District 2 XXX
                   § Jordan Martin, District 3 YES
                           • YES/NO/ABSTAIN: 9/0/3
                           • Motion PASSES
    •   Approval of agenda
            o Agenda approved without objection by voice vote
    •   Bruce J moves to ratify the 25 January meeting as a regular meeting (for same reason
        as above).
            o 2nded
            o Approved without objection by voice vote
    •   Approval of previous meeting minutes (25 Jan 2023)
            o Approved without objection
    •   Officer and Committee Chair Reports
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           o  Chair, Andrew C
                 § Discusses the existence of an illegitimate board purporting to be the LP of
                     MI, which has created a duplicate website to raise funds, distributed a
                     number of emails to contacts obtained via NDA violations, and has
                     ignored cease and desist letters issued.
                 § Preparations for the 1 April Wixom convention will proceed as previously
                     approved.
          o 1st Vice Chair, Vacant
          o 2nd Vice Chair, Vacant
          o Secretary, Dan Z
          o Judicial Committee Report, Connor Nepomuceno (presented by Dan Z)
          o Treasurer, Vacant
          o Membership, Jeff P
                 § Increase in membership noted as of 31 Jan
          o Communications Director, Connor N
          o Newsletter, Scotty B
                 § Scotty B notes his intent to comply with the requirement to mention only
                     the Wixom convention in any Newsletter article
          o Campaign Support Committee, Jami VA
          o Legislative Committee, Stephanie D
          o IT Director, Mark K
          o Historical, Greg S
    •   New Business
          o Acknowledgement of Joe B’s resignation
          o Funding Request – Jeff P
                 § Jeff P notes request for $113 reimbursement as approved on 25 Jan
                 § Also need ~$60 reimbursement request approved for mailings of lifetime
                     memberships
                 § Inquires as to budget for Membership Committee, and requests that prior
                     $500 budget be increased
                 § Jeff P moves to authorize up to $400 for Membership Committee
                     expenses (including expenses noted above)
                         • 2nded
                         • Approved without objection by voice vote
          o Funding approval – Eric Doster attorney fees ($6,605)
    Dave C joins the meeting, stating he is present as an observer only and will not participate
    as a member of the LEC
                   §   Trevor S moves to approve payment
                          • 2nded
                                 o Andrew Chadderdon, Chair ABS
                                 o Ryan Roberts, District 1 YES
                                 o Vacant, District 2 XXX
                                 o Jordan Martin, District 3 YES
                                 o Rick Thelen, District 4 YES
                                 o Dave Canny, District 5 YES
                                 o Larry Henneman, District 6 YES
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                                   o    Brian Ellison, District 7 ABS
                                   o    Trevor Step, District 8 YES
                                   o    Mike Saliba, District 9 YES
                                   o    Joe Brungardt, District 10 YES
                                   o    Bruce Jaquays, District 11 YES
                                   o    Daniel Muehl-Miller, District 12 YES
                                   o    Dave Franklin, District 13 YES
                                   o    Jeff Pittel, District 14 NO
                                   o    Vacant, 1st Vice Chair XXX
                                   o    Vacant, 2nd Vice Chair XXX
                                   o    Daniel Ziemba, Secretary YES
                                   o    Vacant, Treasurer XXX
                                            § YES/NO/ABSTAIN: 8/1/2
                                            § Motion PASSES
            o   Treasurer Position – Removal in respect of resignation request from Norm
                Peterson per Article III Section 10 mechanism for missing 3 meetings, and thank
                him for his long service to the board.
                   § Ryan R moves to remove Norm P per the above
                            • 2nded
                            • Approved without objection by voice vote
 Chair Andrew C warns Brian E that any further interruption will result in his removal from the
 meeting (due to a non-relevant statement during the voice vote)
            o   Appoint Treasurer (and possibly Assistant Treasurer)
                   § Dan Z nominates both Tori H and Greg B
                           • Tori H notes she recently moved to MI from NE. Has experience
                              as treasurer of a college group, and as a campaign participant in
                              election efforts and steering committees previously.
                                  o Jeff P inquires whether Tori H has a background in
                                      accounting.
                                          § Tori H notes she has a degree in biology and is
                                              familiar with spreadsheets, but does not have an
                                              explicit background in accounting.
                           • Greg B notes he ran for State Rep in his District in 2022 (including
                              campaign finance handling), ran his own business (including
                              managing financial books)
                           • Bruce J inquires where each of the nominees is located in MI
                                  o Greg B notes he lives in Mt. Pleasant in an unaffiliated
                                      area
                                  o Tori H notes she lives in Kent County (West Michigan)
                           • Jeff P inquires how much time each nominee has available to
                              devote to the role
                                  o Greg B notes he is generally free 3 days per week and can
                                      dedicate significant time
                                  o Tori H states she is similarly available and can devote
                                      significant time per week
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                        •     Andrew C inquires whether either would be willing to serve as
                              Assistant Treasurer if not elected Treasurer?
                                  o Both respond affirmatively.
                           • Roll Call Vote
                                  o Andrew Chadderdon, Chair ABS
                                  o Daniel Ziemba, Secretary GB
                                  o Vacant, Treasurer XXX
                                  o Ryan Roberts, District 1 GB
                                  o Vacant, District 2 XXX
                                  o Jordan Martin, District 3 YES
                                  o Rick Thelen, District 4 GB
                                  o Dave Canny, District 5 YES
                                  o Larry Henneman, District 6 GB
                                  o Brian Ellison, District 7 ABS
                                  o Trevor Step, District 8 TH
                                  o Mike Saliba, District 9 YES
                                  o Joe Brungardt, District 10 YES
                                  o Bruce Jaquays, District 11 TH
                                  o Daniel Muehl-Miller, District 12 GB
                                  o Dave Franklin, District 13 GB
                                  o Jeff Pittel, District 14 GB
                                  o Vacant, 1st Vice Chair XXX
                                  o Vacant, 2nd Vice Chair XXX
                                          § YES/NO/ABSTAIN: GB: 8/TH: 2/ABS: 2
                                          § Greg B elected Treasurer
                           • Trevor S nominates Tori H for Assistant Treasurer
                                  o 2nded
                                  o Tori H accepts the nomination
                                          § Approved without objection
          o   Ruling on the conditional approval of the 3rd petition for special convention
              (regarding investigatory committee)
                   § Jeff P notes that all petitions submitted met the 10% membership
                       threshold for signatures
          o   Approve secretary to prepare and issue 30 day call to special convention
                   § 1 April 2023, start of business at 09:00 at VFW Post #2269 at 2652 Loon
                       Lake Rd
                   § Registration web page needed
                   § Business to include:
                           • Filling of vacancies as noted in petitions
                           • Motion of no confidence in the chair
                           • Motion of appoint investigatory committee
                   § Bruce J moves to approve the above Call to Convention
                           • 2nded
                           • Approved without objection by voice vote
          o   Motions of no confidence in LEC members who have participated in the
              illegitimate board purporting to represent the Libertarian Party of Michigan,
              including:
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                §   Jordan Martin, District 3 Representative
                       • Dan Z moves this motion of no confidence
                               o 2nded
                               o Andrew Chadderdon, Chair ABS
                               o Jeff Pittel, District 14 NO
                               o Vacant, 1st Vice Chair XXX
                               o Vacant, 2nd Vice Chair XXX
                               o Daniel Ziemba, Secretary YES
                               o Greg Black, Treasurer YES
                               o Ryan Roberts, District 1 YES
                               o Vacant, District 2 XXX
                               o Jordan Martin, District 3 YES
                               o Rick Thelen, District 4 YES
                               o Dave Canny, District 5 YES
                               o Larry Henneman, District 6 YES
                               o Brian Ellison, District 7 ABS
                               o Trevor Step, District 8 ABS
                               o Mike Saliba, District 9 YES
                               o Joe Brungardt, District 10 YES
                               o Bruce Jaquays, District 11 YES
                               o Daniel Muehl-Miller, District 12 YES
                               o Dave Franklin, District 13 YES
                                       § YES/NO/ABSTAIN: 8/1/3
                                       § Motion PASSES; District 3 Representative seat
                                           now vacant
                       • Andrew C requests a statement from Brian E stating he is not
                           participating in the meeting (pertaining to repeated interruptions),
                           or that he is, which will result in a vote of whether to remove him
                           from the meeting.
                               o Vote to remove Brian E from the meeting
                                       § Andrew Chadderdon, Chair ABS
                                       § Dave Franklin, District 13 YES
                                       § Jeff Pittel, District 14 ABS
                                       § Vacant, 1st Vice Chair XXX
                                       § Vacant, 2nd Vice Chair XXX
                                       § Daniel Ziemba, Secretary YES
                                       § Greg Black, Treasurer ABS
                                       § Ryan Roberts, District 1 YES
                                       § Vacant, District 2 XXX
                                       § Jordan Martin, District 3 YES
                                       § Rick Thelen, District 4 YES
                                       § Dave Canny, District 5 YES
                                       § Larry Henneman, District 6 NO
                                       § Brian Ellison, District 7 ABS
                                       § Trevor Step, District 8 YES
                                       § Mike Saliba, District 9 YES
                                       § Joe Brungardt, District 10 YES
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                                       §    Bruce Jaquays, District 11 YES
                                       §    Daniel Muehl-Miller, District 12 YES
                                               • YES/NO/ABSTAIN: 7/0/4
                                               • Motion PASSES; Andrew C notes that Brian
                                                   E already exited the meeting
                  §   Dave Canny, District 5 Representative
 Greg B noted no longer present

                         •   Dave F moves this motion of no confidence
                                  o 2nded
                                          § Andrew Chadderdon, Chair ABS
                                          § Daniel Muehl-Miller, District 12 YES
                                          § Dave Franklin, District 13 YES
                                          § Jeff Pittel, District 14 NO
                                          § Vacant, 1st Vice Chair XXX
                                          § Vacant, 2nd Vice Chair XXX
                                          § Daniel Ziemba, Secretary YES
                                          § Greg Black, Treasurer ABS
                                          § Ryan Roberts, District 1 YES
                                          § Vacant, District 2 XXX
                                          § Jordan Martin, District 3 YES
                                          § Rick Thelen, District 4 YES
                                          § Dave Canny, District 5 YES
                                          § Larry Henneman, District 6 YES
                                          § Brian Ellison, District 7 ABS
                                          § Trevor Step, District 8 ABS
                                          § Mike Saliba, District 9 YES
                                          § Joe Brungardt, District 10 YES
                                          § Bruce Jaquays, District 11 YES
                                                  • YES/NO/ABSTAIN: 7/1/2
                                                  • Motion PASSES; District 5 Representative
                                                     seat now vacant
                  §   Brian Ellison, District 7 Representative
                          • Larry H moves this motion of no confidence
                                  o 2nded
                                          § Andrew Chadderdon, Chair ABS
                                          § Bruce Jaquays, District 11 YES
                                          § Daniel Muehl-Miller, District 12 YES
                                          § Dave Franklin, District 13 YES
                                          § Jeff Pittel, District 14 ABS
                                          § Vacant, 1st Vice Chair XXX
                                          § Vacant, 2nd Vice Chair XXX
                                          § Daniel Ziemba, Secretary YES
                                          § Greg Black, Treasurer ABS
                                          § Ryan Roberts, District 1 YES
                                          § Vacant, District 2 XXX
                                          § Jordan Martin, District 3 YES
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                                        §   Rick Thelen, District 4 YES
                                        §   Dave Canny, District 5 YES
                                        §   Larry Henneman, District 6 YES
                                        §   Brian Ellison, District 7 ABS
                                        §   Trevor Step, District 8 ABS
                                        §   Mike Saliba, District 9 YES
                                        §   Joe Brungardt, District 10 YES
                                                • YES/NO/ABSTAIN: 7/0/3
                                                • Motion PASSES; District 7 Representative
                                                    seat now vacant
                  § Mike Saliba, District 9 Representative
    •   Andrew C warns Mike S against further interruptions because he is not participating in
        the meeting
            o Larry H requests that Mike S be allowed to speak within reason
                  § Trevor S objects to this request
                          • Daniel MM moves this motion of no confidence
                                 o 2nded
                                         § Andrew Chadderdon, Chair ABS
                                         § Larry Henneman, District 6 ABS
                                         § Brian Ellison, District 7 ABS
                                         § Trevor Step, District 8 YES
                                         § Mike Saliba, District 9 YES
                                         § Joe Brungardt, District 10 YES
                                         § Bruce Jaquays, District 11 YES
                                         § Daniel Muehl-Miller, District 12 YES
                                         § Dave Franklin, District 13 YES
                                         § Jeff Pittel, District 14 NO
                                         § Vacant, 1st Vice Chair XXX
                                         § Vacant, 2nd Vice Chair XXX
                                         § Daniel Ziemba, Secretary YES
                                         § Greg Black, Treasurer ABS
                                         § Ryan Roberts, District 1 YES
                                         § Vacant, District 2 XXX
                                         § Jordan Martin, District 3 YES
                                         § Rick Thelen, District 4 YES
                                         § Dave Canny, District 5 YES
                                                • YES/NO/ABSTAIN: 7/1/2
                                                • Motion PASSES; District 9 Representative
                                                    seat now vacant
                  § Joe Brungardt, District 10 Representative – Note: Andrew C previously
                      noted this motion is moot due to Joe B’s resignation
    •   Open Floor
            o Tim Y states that his and Ben B’s resignations were never accepted according to
              prior statements by Andrew C
            o Tim Y, Ben B, and Mike S removed for repeated interruptions
            o Jon E removed for interruptions
            o Dave F objects to a request by Scotty B to comment
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            o   Dave F objections to a request by Andrew D to comment
                   § Larry H moves to suspend the rules to allow Andrew D to speak
                          • 2nded
                          • Motion passes without objection by voice vote
                   § Larry H moves to suspend the rules to allow Scotty B to speak
                          • 2nded
                          • Motion passes with a couple objections by voice vote
                   § Bruce J moves to extend the meeting by 15 minutes (to 21:45)
                          • 2nded
                          • Approved without objection
                          • Vote on Larry H motion regarding Scotty B
                                  o Andrew Chadderdon, Chair ABS
                                  o Rick Thelen, District 4 YES
                                  o Dave Canny, District 5 YES
                                  o Larry Henneman, District 6 YES
                                  o Brian Ellison, District 7 ABS
                                  o Trevor Step, District 8 YES
                                  o Mike Saliba, District 9 YES
                                  o Joe Brungardt, District 10 YES
                                  o Bruce Jaquays, District 11 YES
                                  o Daniel Muehl-Miller, District 12 YES
                                  o Dave Franklin, District 13 ABS
                                  o Jeff Pittel, District 14 YES
                                  o Vacant, 1st Vice Chair XXX
                                  o Vacant, 2nd Vice Chair XXX
                                  o Daniel Ziemba, Secretary YES
                                  o Greg Black, Treasurer ABS
                                  o Ryan Roberts, District 1 YES
                                  o Vacant, District 2 XXX
                                  o Jordan Martin, District 3 YES
                                          § YES/NO/ABSTAIN: 8/0/2
                                          § Motion PASSES
                          • Scotty B notes he will investigate Tim Y’s claims, which appear to
                              contradict the result of the Judicial Committee decision, and
                              expresses concern that board members were removed
                   § Dave F objects to request for comment by Dana C
                   § Dave F moves that the meeting proceed to executive session
                          • 2nded
                          • Approved without objection
 Meeting recording stopped and restarted at 21:34 to denote start of executive session (10
 members present as noted in above role call vote)
 Resumption of general session at 20:55

    •   Bruce J moves to terminate IT Director Mark King’s employment due to unauthorized
        changes to CiviCRM access on or around 3 February
           o 2nded
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            o Approved without objection
     •   Next meeting planning
            o Daniel MM moves to schedule the next regular meeting for 19:30 on 19 Mar
                   § 2nded
                   § Rick T notes the CALP monthly meeting is that date, and opposes
                   § Daniel MM moves to amend to 20 Mar at 19:30
                          • 2nded
                          • Approved without objection
     •   Daniel MM motions to adjourn @ 23:00
            o 2nded
            o Approved without objection by voice vote


  REMIND CHAIR TO STOP RECORDING

     •   Andrew Chadderdon, Chair ABS
     •   Dave Canny, District 5 YES
     •   Larry Henneman, District 6 ABS
     •   Brian Ellison, District 7 XXX
     •   Trevor Step, District 8 YES
     •   Mike Saliba, District 9 YES
     •   Joe Brungardt, District 10 YES
     •   Bruce Jaquays, District 11 YES
     •   Daniel Muehl-Miller, District 12 YES
     •   David Franklin, District 13 XXX
     •   Jeff Pittel, District 14 XXX
     •   Vacant, 1st Vice Chair XXX
     •   Vacant, 2nd Vice Chair XXX
     •   Daniel Ziemba, Secretary YES
     •   Vacant, Treasurer XXX
     •   Ryan Roberts, District 1 YES
     •   Vacant, District 2 XXX
     •   Jordan Martin, District 3 YES
     •   Rick Thelen, District 4 YES
             o YES/NO/ABSTAIN: 6/4/2
